                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION

UNITED STATES OF AMERICA,
              Plaintiff,                            No. 09-CR-4045-DEO
vs.                                         ORDER
                                    ACCEPTING REPORT AND
LISA LOVE SMITH,
                                 RECOMMENDATION CONCERNING
         Defendant.                      GUILTY PLEA
                    ____________________

                      I.   INTRODUCTION AND BACKGROUND

      On December 16, 2009, a one count Superseding Indictment

(Docket No. 136) was returned in the above-referenced case.

      Count     1    of    the   Superseding       Indictment         charges      that

between about January 2007 and continuing through August 2009,

in the Northern District of Iowa, defendant Lisa Love Smith,

and other named defendants, did knowingly and unlawfully

combine, conspire, confederate, and agree with each other and

with other persons, and known and unknown to the Grand Jury,

      1.   to manufacture 500 grams or more of a mixture or

           substance         containing        a     detectable           amount        of

           methamphetamine, a Schedule II controlled substance,

           or        50     grams      or   more            of     actual       (pure)

           methamphetamine, a Schedule II controlled substance,

           in       violation     of   Title       21,     United     States     Code,



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          Sections 841(a)(1), 841(b)(1)(A), 851, and;

    2.    to manufacture 50 grams or more of a mixture or

          substance     containing       a    detectable       amount        of

          methamphetamine, a Schedule II controlled substance,

          or 5 grams or more of actual (pure) methamphetamine,

          a Schedule II controlled substance, in violation of

          Title 21, United States Code, Sections 841(a)(1) and

          841(b)(1)(B), 851, and

    This was in violation of Title 21, United States Code,

Section 846.
                               1
    On December 15, 2009,          defendant Lisa Love Smith appeared

before Chief United States Magistrate Judge Paul A. Zoss and

entered a plea of guilty to Count 1 of the Indictment.               In the

Report and Recommendation and supplemental Order (Docket Nos.



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      This Court notes that Defendant Lisa Love Smith entered
her plea of guilty on December 15, 2009, prior to the date the
Superseding Indictment was filed, December 16, 2009. However,
United States Magistrate Judge Paul A. Zoss entered an Order
on December 30, 2009 (Docket No. 183), setting out that the
Plaintiff indicated in its Statement Pursuant To Local
Criminal Rule 7 (Docket No. 146) that the only change between
the original Indictment and the Superseding Indictment is the
addition of a new defendant in Count 1.      Accordingly, the
Court ordered that the guilty plea entered by Lisa Love Smith
to the Indictment is also applicable to the Superseding
Indictment.

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123, 12/15/2009; and Docket No. 183, 12/30/2009), Chief United

States Magistrate Judge Paul A. Zoss recommends that defendant

Lisa Love Smith’s guilty plea be accepted.               No objections to

Judge Zoss’s Report and Recommendation and supplemental Order

were filed.    The Court, therefore, undertakes the necessary

review to accept defendant Lisa Love Smith’s plea in this

case.

                               II.   ANALYSIS

                      A.   Standard of Review

    Pursuant to statue, this Court’s standard of review for

a magistrate judge’s Report and Recommendation is as follows:

          A judge of the court shall make a de novo
          determination of those portions of the
          report or specified proposed findings or
          recommendations to which objection is made.
          A judge of the court may accept, reject, or
          modify, in whole or in part, the findings
          or recommendations made by the magistrate
          [judge].

28 U.S.C. § 636(b)(1).           Similarly, Federal Rule of Civil

Procedure 72(b) provides for review of a magistrate judge’s

Report and Recommendation on dispositive motions and prisoner

petitions, where objections are made as follows:

          The district judge to whom the case is
          assigned shall make a de novo determination
          upon the record, or after additional

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             evidence, of any portion of the magistrate
             judge’s disposition to which specific
             written   objection  has   been   made  in
             accordance with this rule.    The district
             judge may accept, reject, or modify the
             recommendation decision, receive further
             evidence, or recommit the matter to the
             magistrate judge with instructions.

FED. R. CIV. P. 72(b).

       In this case, no objections have been filed, and it

appears to the Court upon review of Chief Magistrate Judge

Zoss’s findings and conclusions that there are no grounds to

reject or modify them.

       IT IS THEREFORE HEREBY ORDERED that this Court accepts

Chief     Magistrate     Judge     Zoss’s      Report     and    Recommendation

(Docket No. 123), and accepts defendant Lisa Love Smith’s plea

of    guilty    in   this   case    to       Count   1   of     the   Superseding

Indictment filed on December 16, 2009, (Docket No. 136).

       IT IS SO ORDERED this 11th day of February, 2010.


                                     __________________________________
                                     Donald E. O’Brien, Senior Judge
                                     United States District Court
                                     Northern District of Iowa




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